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                                                   June 26, 2023
 VIA ECF
 Hon. Jessica S. Allen, U.S.M.J.
 United States District Court for the District of New Jersey
 Martin Luther King Jr. Bldg. & U.S. Courthouse
 50 Walnut Street
 Newark, New Jersey 07102

         Re: Mylan Pharms. Inc. v. Teva Pharms. Indus. Ltd., et al., Civil Action No. 2:21-
             cv-13087 (JXN-JSA)

               In re Copaxone Antitrust Litigation, Civil Action No. 2:22-cv-1232 (JXN-JSA)

 Dear Judge Allen:

         This firm, along with Goodwin Procter LLP, represents Teva Pharmaceutical Industries
 Ltd., Teva Pharmaceuticals USA, Inc., Teva Neuroscience, Inc., and Teva Sales & Marketing,
 Inc. (collectively, “Teva”) in the above-referenced matters.

         We write on behalf of Teva to respectfully request an adjournment and rescheduling of the
 status conference currently set for June 28, 2023 at 9:30 a.m. because of the unavailability of
 Teva’s lead counsel due to an ongoing trial out of state. Teva contacted Plaintiffs’ counsel to
 seek consent and to confer on proposed alternative dates. The Class Plaintiffs have consented
 to adjournment and Mylan has objected only to the extent the parties are unable to reschedule
 the hearing before July 21. The Court provided alternative dates of June 30, July 3 and July 10.
 Unfortunately, not all of the parties are available on the dates proposed by the Court. Teva
 respectfully requests that the Court grant Teva’s request to adjourn the hearing and allow the
 parties to confer and submit alternative dates to reschedule in a subsequent letter.

        We thank the Court for its consideration of this submission and ongoing attention to these
 matters and are available should Your Honor or Your Honor’s staff have any questions or need
 anything further.


                                               Respectfully submitted,

                                               s/Liza M. Walsh

                                               Liza M. Walsh

 cc: Counsel of Record (via ECF and Email)



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 IT IS SO ORDERED that the June 28, 2023 status conference is adjourned, and rescheduled
 for July ___, 2023, at _____ a.m./p.m.

 ______________________________
 Hon. Jessica S. Allen, U.S.M.J.




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